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15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S OPPOSITION TO
18                                             DEFENDANT’S MOTION FOR A JUDGMENT
                      v.                       OF ACQUITTAL PURSUANT TO FEDERAL
19                                             RULE OF CRIMINAL PROCEDURE 29
     MICHAEL JOHN AVENATTI,                    (CR 717)
20
                Defendant.
21

22

23         Plaintiff United States of America, by and through its counsel

24   of record, the Acting United States Attorney for the Central District

25   of California and Assistant United States Attorneys Brett A. Sagel

26   and Alexander C.K. Wyman, hereby files its Opposition to Defendant’s

27   Motion for a judgment of acquittal pursuant to Federal Rule of

28   Criminal Procedure 29 (CR 717).
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1          This Opposition is based upon the attached memorandum of points

2    and authorities, the evidence and testimony at trial, the files and

3    records in this case, and such further evidence and argument as the

4    Court may permit.

5     Dated: August 17, 2021               Respectfully submitted,

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10                                               /s/
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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          On August 16, 2021, following the nineteenth day of trial and

4    after the government rested its case-in-chief, defendant filed a

5    motion for a judgment of acquittal pursuant to Federal Rule of

6    Criminal Procedure 29.       (CR 717.)   On August 17, 2021, the Court

7    directed the government to file a response focusing on Counts 1, 2,

8    4, and 5 of the Indictment and whether a wire itself must itself be

9    unlawful or simply be a part of the overall scheme. 1          Defendant
10   ignores the overwhelming evidence against him, the legal standard
11   required under a Rule 29 motion, and the law required to prove wire
12   fraud.     Defendant’s arguments are not supported by law or fact, and
13   the Court should deny defendant’s motion.
14   II.   ARGUMENT
15         A.    Legal Standard
16         A motion for judgment of acquittal under Federal Rule of

17   Criminal Procedure 29 must be denied “if, viewing the evidence in the

18   light most favorable to the prosecution, any rational trier of fact

19   could have found the essential elements of the offenses charged

20   beyond a reasonable doubt.”       United States v. Rosales, 516 F.3d 749,

21   751–52 (9th Cir. 2008) (internal quotation marks omitted).             “When

22   viewing the evidence in the light most favorable to the government,”

23   a court “may not usurp the role of the finder of fact by considering

24   how [it] would have resolved the conflicts, made the inferences, or

25   considered the evidence at trial.”         United States v. H.B., 695 F.3d

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27         1The evidence and testimony at trial amply support criminal
     convictions on all ten counts, but the government will focus its
28   opposition on the specific counts and issue the Court raised. The
     government will be prepared to respond to any other matter or issue.
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1    931, 935 (9th Cir. 2012).       As a result, “in a case involving factual

2    disputes and credibility determinations,” a court “must presume that

3    the trier of fact resolved any such conflicts in favor of the

4    prosecution, and must defer to that resolution.”           Id.   The Rule 29

5    standard is “highly deferential,” United States v. Argueta-Rosales,

6    819 F.3d 1149, 1157 (9th Cir. 2016), and courts applying it “must

7    bear in mind that it is the exclusive function of the jury to

8    determine the credibility of witnesses, resolve evidentiary

9    conflicts, and draw reasonable inferences from proven facts,” United
10   States v. Alarcon-Simi, 300 F.3d 1172, 1176 (9th Cir. 2002) (internal

11   quotation marks omitted).

12         The elements of wire fraud, in violation of 18 U.S.C. § 1343, as

13   charged in Counts 1 through 10 are as follows: (1) defendant

14   knowingly participated in or devised a scheme or plan to defraud, or

15   a scheme or plan for obtaining money or property by means of false or

16   fraudulent pretenses, representations, or promises; deceitful

17   statements of half-truths may constitute false or fraudulent

18   representations; (2) the statements made or facts omitted as part of

19   the scheme were material; that is, they had a natural tendency to

20   influence, or were capable of influencing, a person to part with

21   money or property; (3) defendant acted with the intent to defraud,

22   that is, the intent to deceive and cheat; and (4) defendant used, or

23   caused to be used, an interstate wire communication to carry out or

24   attempt to carry out an essential part of the scheme.            Ninth Circuit

25   Model (Criminal) Jury Instruction No. 8.124. 2

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27         2The Court has the government’s various jury instructions
     filings and citations for the law relating to wire fraud. For
28   purposes of this Rule 29 opposition, the government only cites to the
     elements as set forth in the model criminal instructions.
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1          The wire itself need not be illegal; indeed, the Supreme Court

2    has specifically rejected that argument, holding (in the context of

3    the mail-fraud statute) that “any mailing ‘incident to an essential

4    part of the scheme’ satisfies the mailing element,” even if the

5    mailing “contains no false information.”          Bridge v. Phoenix Bond &

6    Indem. Co., 553 U.S. 639, 647 (2008) (quoting Schmuck v. United

7    States, 489 U.S. 705, 712, 715 (1989), internal alterations omitted);

8    see also Shaw v. United States, 137 S. Ct. 462, 468 (2016)

9    (construing the wire- and mail-fraud statutes together).
10         As the Ninth Circuit has explained, “[t]he wire[-]fraud statute

11   protects the instrumentalities of communication, making the use of

12   the wires as part of a fraudulent scheme an independent offense quite

13   separate from any other potentially illegal conduct.”            United States

14   v. Hussain, 972 F.3d 1138, 1143 (9th Cir. 2020) (internal quotation

15   marks and alterations omitted).        The statute requires only that the

16   wire “be made ‘for the purpose’ of committing the unlawful activity.”

17   United States v. Garner, 663 F.2d 834, 838 (9th Cir. 1981) (quoting

18   Ninth Circuit precedent).       “A wire communication is ‘in furtherance’

19   of a fraudulent scheme if it is incident to the execution of the

20   scheme, meaning that it need not be an essential element of the

21   scheme, just a step in the plot.”        United States v. Jinian, 712 F.3d

22   1255, 1260 (9th Cir. 2013) (citations and internal quotation marks

23   omitted).    The “relevant question at all times is whether a wire is

24   part of the execution of the scheme as conceived by the perpetrator

25   at the time.”     Id. (same).

26         The Ninth Circuit’s model instructions reflect this well-

27   established precedent, requiring that “the defendant used, or caused

28   to be used, an interstate [or foreign] wire communication to carry

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1    out or attempt to carry out an essential part of the scheme,” and

2    explaining that “[a] wiring is caused when one knows that a wire will

3    be used in the ordinary course of business or when one can reasonably

4    foresee such use.”      Ninth Circuit Model (Criminal) Jury Instruction

5    No. 8.124.

6          B.    The Evidence Is More than Sufficient to Survive a Rule 29
                 Challenge on Counts 1, 2, 4, and 5
7
                 1.    Counts 1-2
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9          Defendant primarily argues that the Court should dismiss wire
10   fraud counts 1 and 2 because the wires were from funds “legitimately”
11   owed to and “lawfully earned” by defendant.          (CR 717 at 6, 8, 9.)        At
12   the time defendant caused the wires in Count 1 and 2, defendant had,
13   among other things, already: lied to Geoffrey Johnson that a
14   settlement with the County had yet to be finalized; caused Mr.
15   Johnson’s signature to be forged on the settlement agreement; and
16   failed to disclose to Mr. Johnson the existence of the settlement
17   agreement, the terms of the settlement agreement, or the payment from
18   the County of Los Angeles.       Once defendant obtained money or

19   property, particularly the $4 million settlement payment, based on

20   his false statements and material omissions, any wire in furtherance

21   of his scheme completes the crime.

22         Defendant did not “legitimately” earn anything from a settlement

23   agreement and terms he never disclosed to his client.            Defendant

24   claims Mr. Johnson understood defendant was entitled to 40% of a

25   settlement pursuant to their fee agreement (CR 717 at 7); however,

26   defendant leaves out the fact that defendant never told Mr. Johnson

27   there was a settlement agreement or a settlement payment.

28   Furthermore, although defendant attempts to couch the first couple

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1    withdrawals from the attorney-client trust account at “legitimately”

2    earned fees and costs, he fails to point out the overwhelming

3    evidence that defendant paid zero dollars of the settlement to Mr.

4    Johnson.

5          Defendant stated, in his own testimony under oath, played to the

6    jury, that the client is due their portion of the settlement

7    immediately (Trial Ex. 400F); yet defendant never paid Geoffrey

8    Johnson his portion immediately -- or ever.          Defendant only paid

9    himself immediately after lying to his client and concealing material
10   information from him.      A jury could easily infer that defendant’s
11   attempt to withdraw 40% as his fees, and then the “costs” immediately
12   after receiving draft costs from Judy Regnier, were to conceal his
13   theft of Mr. Johnson’s funds -- and to later claim, as he is doing
14   here, that the funds were legitimate.         And because defendant
15   purposefully stops his description at the time of his withdrawals
16   after depositing the settlement money, he fails to acknowledge that
17   he paid no settlement money to Mr. Johnson.
18         Defendant carried out an essential part of the scheme, namely,

19   using the funds for himself, when he caused an interstate wire of

20   $250,000 to defendant’s coffee business, specifically a Global

21   Baristas US LLC account, from Geoffrey Johnson’s settlement money.

22   When defendant further wired $50,000 that originated from Mr.

23   Johnson’s settlement money to personal accounts controlled by

24   defendant, he again caused to be used an interstate wire

25   communication to carry out an essential part of the scheme.

26               2.    Counts 4-5

27         Defendant next claims the Court should dismiss wire fraud counts

28   4 and 5, the $1.6 million wire transfer from Brock USA, LLC to

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1    defendant’s attorney-client trust account defendant set up to receive

2    Gregory Barela’s settlement money (“CNB 5566”), and a $60,000 wire

3    from CNB 5566 to another trust account defendant controlled.             (CR 717

4    at 9.)    As to Count 4, defendant claims “the government has failed to

5    establish that [defendant] caused the wire transfer to be

6    effectuated, in furtherance of a scheme, while harboring the specific

7    intent to deceive and cheat.”        (Id. at 11.)    Ignoring the testimony

8    and evidence in the case, and citing to nothing, defendant claims the

9    wire in Count 4 “occurred prior to any misconduct described by the
10   government.”     (Id. at 12.)    This is simply false.
11         There is little doubt defendant “caused” the wire because Trial

12   Exhibit 191 is an email defendant sent to counsel for Brock on

13   January 2, 2018, directing where the settlement payment should be

14   wired: CNB 5566. 3    Defendant’s wire instruction email takes place a

15   few days after defendant lies to Gregory Barela about the terms of

16   the settlement agreement and provides a fraudulent settlement

17   agreement to Mr. Barela, specifically, that Brock’s first payment is

18   not due until March 10, 2018, rather than January 10, 2018 (as well

19   as false statements of when the remaining payments would be made).

20   Defendant obtained the $1.6 million based on false statements and

21   representations to his client, and the wire that defendant caused to

22   be made into CNB 5566 carried out an essential part of his scheme.

23         Defendant also claims Count 5 is deficient because the $60,000

24   wire transfer “on January 10, 2018 consisted entirely of funds

25   [defendant] was entitled to by way of his representation of Mr.

26

27         3This email is also after defendant modified the settlement
     agreement with Brock to state defendant would provide wire
28   instructions to Brock on or before January 3, 2018. (Trial Exhibits
     181 at 8, 187 at 4.)
                                        6
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1    Barela . . . [and] sufficient funds remained in the CNB [5566] to

2    compensate Mr. Barela in the amount the government claimed he was

3    owed.”    (CR 717 at 12.)     Defendant had already lied to his client

4    about the settlement agreement and its terms and concealed the

5    material fact that defendant received the $1.6 million settlement

6    payment in the case prior to causing this $60,000 wire transfer.

7    Defendant was hardly “entitled” to money that he obtained through his

8    fraudulent scheme.      And just like with Mr. Johnson’s money, defendant

9    paid zero dollars to Mr. Barela from the settlement money, so
10   defendant cannot claim a wire from the account early was legitimate

11   because there was sufficient money to be paid to his client, which

12   defendant never paid to his client.

13   III. CONCLUSION

14         The evidence of defendant’s wire fraud scheme is overwhelming,

15   and each of the ten wires defendant caused were in furtherance of his

16   wire fraud scheme.      For the foregoing reasons, the government

17   respectfully requests that this Court deny defendant’s motion to

18   dismiss counts of conviction under Rule 29 in its entirety.

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